






Opinion issued July 12, 2007					 





			















In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-06-01050-CR

____________


JOSEPH JEROME JOHNSON, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 174th District Court 

Harris County, Texas

Trial Court Cause No. 1046658






MEMORANDUM  OPINION

	Appellant, Joseph Jerome Johnson, pleaded guilty to the offense of aggravated
robbery, and the trial court, after a pre-sentence investigation hearing, assessed his
punishment at confinement for 10 years.  We affirm.

	Appellant's counsel on appeal has filed a brief stating that the record presents
no reversible error, that the appeal is without merit and is frivolous, and that the
appeal must be dismissed or affirmed.  See Anders v. California, 386 U.S. 738, 87 S.
Ct. 1396 (1967). The brief meets the requirements of Anders by presenting a
professional evaluation of the record and detailing why there are no arguable grounds
for reversal.  Id. at 744, 87 S. Ct. at 1400; see also High v. State, 573 S.W.2d 807, 810
(Tex. Crim. App.1978). 

	Counsel represents that he has served a copy of the brief on appellant.  Counsel
also advised appellant of his right to examine the appellate record and file a pro se
brief.  See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991).  More than
30 days have passed, and appellant has not filed a pro se brief.  Having reviewed the
record and counsel's brief, we agree that the appeal is frivolous and without merit and
that there is no reversible error.  See Bledsoe v. State, 178 S.W.3d 824, 826-27(Tex.
Crim. App. 2005).  

	We affirm the judgment of the trial court and grant counsel's motion to
withdraw. (1) 

PER CURIAM


Panel consists of Justices Taft, Jennings, and Alcala.

Do not publish.  Tex. R. App. P. 47.2(b).









				
1.    	Appointed counsel still has a duty to inform appellant of the result of this appeal and
that she may, on her own, pursue discretionary review in the Texas Court of Criminal
Appeals.  See Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).  


